Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 1 of 26




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO



Britt Wallace,

                        Plaintiff,                         COMPLAINT FOR DAMAGES AND
       v.                                                    DEMAND FOR JURY TRIAL

SANOFI-AVENTIS U.S. LLC; SANOFI US
SERVICES INC.; CHATTEM, INC.; PFIZER.                             CASE NO.: 1:20-cv-00623
INC.; GLAXOSMITHKLINE, LLC and
BOEHRINGER INGELHEIM
PHARMACEUTICALS, INC.,

                        Defendants.


       Plaintiff, by and through undersigned counsel, hereby brings this Complaint for damages

against Defendants, Boehringer Ingelheim Pharmaceuticals, Inc., Chattem, Inc., GlaxoSmithKline

LLC, Pfizer, Inc., Sanofi-Aventis U.S. LLC, and Sanofi US Services, Inc., and alleges the

following based on personal knowledge, the investigation of counsel, and information and belief:

                                          INTRODUCTION

       1.        Plaintiff brings this suit for damages suffered as a direct and proximate result of the

Defendants’ violations in common and statutory law and their negligent and wrongful conduct in

designing, developing, manufacturing, testing, packaging, promoting, marketing, advertising,

distributing, labelling and/or selling of the drug Zantac (also generically known as ranitidine),

which was defective, dangerous to human health, and lacked proper warnings on the label.

                                             PLAINTIFF

       2.        Plaintiff Britt Wallace is a citizen of Colorado and resides in El Paso County,

Colorado.




                                                   1
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 2 of 26




          3.   Plaintiff brings this action for personal injuries sustained as a result of his use of

Zantac. Plaintiff first began using Zantac in or around the year 2014 and regularly used Zantac

for 5 years. Plaintiff is 57 years old.

          4.   Plaintiff took 150 mg of Zantac twice daily. Plaintiff generally purchased Zantac

at Dollar Store, Wal-Mart and Walgreens locations in Colorado.

          5.   As a result of Plaintiff’s use and ingestion of Zantac, Plaintiff developed and was

diagnosed with kidney cancer in February of 2020. Plaintiff is undergoing treatment in Colorado

Springs, Colorado.

          6.   If Plaintiff had known that ingesting Zantac would expose him to extreme levels of

NDMA and additional health consequences, he would not have purchased and/or used the drug.

                                          DEFENDANTS

          7.   GlaxoSmithKline LLC is a Delaware corporation that has its principal place of

business in Philadelphia, Pennsylvania and Research Triangle, North Carolina. GSK is a wholly

owned subsidiary of GlaxoSmithKline PLC, a British limited company that is registered to do

business in the United States. GlaxoSmithKline PLC was the first company to apply for and receive

approval for prescription brand Zantac. GSK, until recently, sold over the counter versions of

Zantac.

          8.   Pfizer, Inc. is a Delaware corporation that has its principal place of business in New

York, New York. Until 2006, Pfizer held the U.S. Right & New Drug Application (“NDA”) for

manufacturing, marketing, and selling over the counter Zantac.

          9.   Boehringer Ingelheim Pharmaceuticals, Inc., is a Delaware corporation that has its

principal place of business in Ridgefield, Connecticut. Boehringer is a subsidiary of the German

company Boehringer Ingelheim Corporation. Between 2006 until 2017, Boehringer owned the



                                                 2
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 3 of 26




U.S. rights to over the counter Zantac. During that period Boehringer manufactured and distributed

the drug in the United States.

       10.     Sanofi-Aventis U.S. LLC is a Delaware limited liability corporation that has its

principal place of business in Bridgewater, New Jersey. It is a wholly owned subsidiary of the

French company Sanofi S.A.

       11.     Sanofi US Services Inc. is a Delaware corporation that has its principal place of

business in Bridgewater, New Jersey. It is a wholly owned subsidiary of the French company

Sanofi S.A.

       12.     Chattem, Inc. is a Tennessee corporation that has its principal place of business in

Chattanooga, Tennessee. It is a wholly owned subsidiary of the French company Sanofi S.A.

       13.     Sanofi-Aventis U.S. LLC; Sanofi US Services Inc.; and Chattem, Inc. (collectively

“Sanofi”) controlled the U.S. rights and NDA to over the counter Zantac from 2017 to the present.

During that period, Sanofi manufactured and distributed the drug in the United States.

                                 JURISDICTION AND VENUE

         14.   Pursuant to 28 U.S.C. § 1332, this Court has diversity jurisdiction over this action

because the amount in controversy exceeds $75,000, exclusive of interests and costs, and because

Plaintiff is a citizen of a state different from any defendant.

         15.   This Court has jurisdiction over supplemental state law claims pursuant to 20

U.S.C. § 1367.

         16.   This Court has personal jurisdiction over Plaintiff as he agrees to submit to the

Court’s jurisdiction. This Court has personal jurisdiction over Defendants, as they conducted

substantial business in the District; Plaintiff’s claims arise out of Defendants, directly or by an

agent, operating, conducting, engaging in, or carrying on a business in this state or having an



                                                  3
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 4 of 26




    office or agency in this state, committing a tortious act in this state, and Defendants were engaged

    in solicitation or service activities within the state which were used or consumed within the state

    in the ordinary course of commerce, trade, or use.

            17.   Venue properly lies in the District pursuant to 28 U.S.C. § 1391 as a substantial

    part of the events or omissions giving rise to Plaintiff’s claim occurred in this District,

    Defendants’ actions have caused harm to Plaintiff who resides in this District, Defendants

    regularly conduct business in the District, and are subject to personal jurisdiction in the District.

                                      FACTUAL ALLEGATIONS

      A. Zantac’s History

          18.     Zantac is a histamine 2 blocker, which is a class of medications that block a type of

histamine, one of many stimulants of acid production in the stomach.1 Histamine 2 blockers

prevent or relieve heartburn by reducing the production of stomach acid.2 Zantac’s main active

ingredient is ranitidine.3

          19.     Zantac was developed by Glaxo (now GlaxoSmithKline) and introduced to the

market in 1981.4 Zantac’s prescription use was approved by the FDA in 19835 and prior to its FDA

approval, Zantac was approved in 31 different countries.6




1
  Frequently asked questions, Zantac (last visited Dec. 5, 2019), https://www.zantacotc.com/zantac-FAQ.html
2
  Id.
3
  Id.
4
  https://www.worldofmolecules.com/drugs/zantac.htm
5
  Richard Wright, M.D., How Zantac Became the Best-Selling Drug in History, 16(4) J. HEALTHCARE
MARKETING 24 (Winter 1996).
6
  Timeline- Popular heartburn medicine Zantac pulled off store shelves, CNBC (Oct. 2, 2019),
https://www.cnbc.com/2019/10/02/reuters-america-timeline-popular-heartburn-medicine-zantac-pulled-off-store-
shelves.html#:~:targetText=Zantac%20becomes%20the%20world's%20best,%241%20billion%20in%20annual%20
sales.&targetText=Glaxo's%20U.S.%20patent%20for%20ranitidine,generic%20alternatives%20to%20the%20drug.

                                                     4
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 5 of 26




        20.      Zantac has been sold over the counter since 1995. When sold OTC, Zantac is

available in 75 mg and 150 mg tablets. With a prescription, consumers are also able to obtain 300

mg tablets.

        21.      In 1988, just a few years after its development, Zantac became the world’s best-

selling drug and one of the first drugs to top $1 billion in annual sales.7

        22.      At all relevant times, Defendants touted the safety of Zantac and thus Zantac’s

success continued to soar over the years. In 2018, Sanofi reported that Zantac brought in 127

million Euros in net sales around the world, with sales in the U.S. constituting 113 million Euros

of the total.8

        23.      Since the time of its development, the U.S. rights to Zantac have changed hands

numerous times. GSK was the original inventor of Zantac and had the prescription rights to Zantac

from 1983 through 2009. After GSK’s patent for ranitidine expired in 1997, many competitors

launched generic alternatives.9

        24.      In 2004, Pfizer received FDA approval to sell Zantac over the counter in the

U.S.10 After Pfizer, the brand changed hands from Boehringer Ingelheim Pharmaceuticals to

Sanofi.11 Until its recall of the product in October 2019, Sanofi sold branded over-the-counter

Zantac.12


7
  Id.
8
  Sanofi, Form 20-F, Annual Report Pursuant to Section 13 0r 15(d) of the Securities and Exchange Act of 1934 for
the fiscal year ending December 31, 2018, 2018 Consumer Healthcare net sales by geographical regions at 97.
https://www.sanofi.com/-/media/Project/One-Sanofi-Web/Websites/Global/Sanofi-
COM/Home/common/docs/investors/Sanofi-20-F-2018-EN-PDF-e-accessible_01.pdf
9
  Timeline- Popular heartburn medicine Zantac pulled off store shelves, supra footnote 42.
10
   Id.
11
   Id.
12
   Michael Erman, Sanofi Pulls Zantac from U.S. and Canada after carcinogen found, Reuters (Oct. 18, 2019)
https://www.reuters.com/article/us-sanofi-heartburn-zantac/sanofi-pulls-zantac-from-u-s-and-canada-after-
carcinogen-found-
idUSKBN1WX1WU#:~:targetText=Sanofi%20has%20sold%20over%2Dthe,generic%20versions%20of%20the%2
0drug.&targetText=Other%20drugmakers%20including%20GlaxoSmithKline%20and,their%20versions%20of%20t
he%20drug.

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Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 6 of 26




     A. NDMA – A Known Carcinogen

        25.      According to the Environmental Protection Agency (“EPA”) “NDMA is a semi

volatile organic chemical that forms in both industrial and natural processes,” and “[it] is not

currently produced in [its] pure form or commercially used in the United States, except for research

purposes.”13

        26.      Numerous organizations, including the FDA, EPA, the International Agency for

Research on Cancer (“IARC”), and WHO, have classified NDMA as a B2 (probable human)

carcinogen.14 NDMA acts as a carcinogen because it modifies DNA.15

        27.      The WHO stated that “NDMA consumption is positively associated with either

gastric or colorectal cancer” and that “there is conclusive evidence that NDMA is a potent

carcinogen in experimental animals by several routes of exposure.” 16

        28.      The International Agency for Research on Cancer found that “there is sufficient

evidence of a carcinogenic effect of N-nitrosodimethylamine in many experimental animal

species… N-nitrosodimethylamine should be regarded for practical purposes as if it were

carcinogenic to humans.”17

        29.      Since the 1980s, the FDA has directed manufacturers to recall products containing

unsafe levels of NDMA. Just last year, there were recalls for several drugs containing the active




13
   Technical Fact Sheet – N-Nitroso-dimethylamine (NDMA), Environmental Protection Agency (Nov. 2017),
https://www.epa.gov/sites/production/files/2017-10/documents/ndma_fact_sheet_update_9-15-17_508.pdf
14
   Id.
15
   Dr. Sejal Parekh & Dr. Tulsie N. Patel, The Zantac Problem: What’s NDMA, ABC News (Sept. 23, 2019),
https://abcnews.go.com/Health/zantac-problem-whats-ndma/story?id=65799147
16
   World Health Organization, N-Nitrosodimethylamine (NDMA), GUIDELINES FOR DRINKING WATER
QUALITY (3rd ed. 2008) https://www.who.int/water_sanitation_health/dwq/chemicals/ndmasummary_2ndadd.pdf
17
   N-Nitrosodimethylamine, International Agency for Research on Cancer- Summaries and evaluations (last updated
Mar. 27, 1998), http://www.inchem.org/documents/iarc/vol17/n-nitrosodimethylamine.html

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Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 7 of 26




ingredient valsartan, which is used to treat high blood pressure and heart failure.18 This recall was

due to N-nitrosodimethylamine being found in the recalled drugs.19 Drugs containing NDMA

exceeding the FDA’s acceptable intake limits were recalled because “they pose[d] an unacceptable

safety risk to patients.”20

         30.     The FDA announced that the NDMA found in valsartan drugs was caused by

impurities in the manufacturing of some of the drugs and that not all valsartan drugs were being

recalled.21 Unlike the valsartan drugs, the NDMA found in Zantac is not due to impurities but is

inherent to the molecular structure of ranitidine. In its citizen petition, Valisure stated that “[their]

testing reveals NDMA so high that the nitroso for NDMA likely comes from no other source than

the ranitidine molecule itself”22 and that ranitidine produces NDMA by “reacting with itself.”23

Therefore, unlike some of the valsartan drugs, every dose of Zantac or its generic alternatives

exposes users to high levels of the carcinogen NDMA.

     B. Defendants Concealed the Risks of NDMA Exposure from Zantac

         31.     Defendants knew or should have known that Zantac exposes users to unsafe levels

of NDMA. Nonetheless, none of the Defendants disclosed this information and the associated

health risks to consumers, either by reporting it to the FDA or by alerting consumers on the drug’s

label.




18
   FDA announces voluntary recall of several medicines containing valsartan following detection of an impurity,
FDA (Jul. 13, 2018), https://www.fda.gov/news-events/press-announcements/fda-announces-voluntary-recall-
several-medicines-containing-valsartan-following-detection-impurity
19
   Id.
20
   Laboratory analysis of valsartan products, FDA (current as of May 2, 2019), https://www.fda.gov/drugs/drug-
safety-and-availability/laboratory-analysis-valsartan-products
21
   FDA announces voluntary recall of several medicines containing valsartan following detection of an impurity,
supra footnote 55.
22
   Valisure Petition at 5.
23
   Valisure Petition at 2.

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Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 8 of 26




        32.      A study that was published in 1983 suspected the carcinogenic nature of ranitidine

in combination with nitrite (which is found in certain foods and produced by bacteria in the

stomach).24 Even though rats have a different gastric physiology from humans, the study concluded

that “our experimental finds have shown that simultaneous oral administration in rats of high doses

of ranitidine and NaNO2 [nitride] can produce DNA fragmentation either in liver or in gastric

mucosa.”25

        33.      In 1983, an article discussed the toxicity of ranitidine. A group of scientists found

that in hamsters, in vitro and under certain circumstances, ranitidine tends to form nitroso

compounds (such as NDMA), which are DNA-damaging.26

        34.      In 1987, after various studies came out discussing the concerns over ranitidine,

Defendant GSK published a clinical study and determined that ranitidine was not associated with

N-nitrosamines like NDMA.27 However, this study had significant weaknesses.28 GSK used a “less

accurate and less specific detention method than industry standard chromatography, this method

necessitated discarding all gastric samples that contained ranitidine. Thus, without ranitidine being

present in any samples taken, the degradation products of ranitidine, like NDMA, could not

reasonably be detected.”29 This was an obvious attempt by Defendant GSK to try to cover up the

link between ranitidine and NDMA by not testing samples that contained ranitidine.




24
   Valisure Petition at 7.
25
   Brambilla, G. et al. Genotoxic effects in rodents given high oral doses of ranitidine and sodium nitrite.
Carcinogenesis v. 4,10 1281-1285 (1983) https://academic.oup.com/carcin/article-abstract/4/10/1281/2391364
26
   Annalisa Maura, et. al., DNA Damage Induced by Nitrosated Ranitidine in Cultured Mammalian Cells, 18
Toxicology Letters 97 (August 1983),
https://www.sciencedirect.com/science/article/abs/pii/0378427483900772?via%3Dihub
27
   Valisure Petition at 13.
28
   Id.
29
   Id. at 14.

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Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 9 of 26




        35.      In 2003, a study proposed that “elevated levels of NDMA in drinking water

produced by American wastewater treatment plans may be associated with the drug ranitidine.”30

Since then, multiple scientific groups and researchers have described “the breakdown of ranitidine

to form NDMA during wastewater treatment.”31

        36.      A 2004 study examined and followed up on 414 patients with peptic ulcer over a

period of 14 years. The study found that “those who were taking either Zantac or another antacid,

Tagamet (cimetidine) had a heightened risk of bladder cancer.”32 The authors of the study also

noted that “N-Nitrosamines are known carcinogens, and nitrate ingestion has been related to

bladder cancer risk.”33 NDMA is a type of N-Nitrosamine.

        37.      In 2007, the Fred Hutchinson Cancer Research Center, a cancer institute established

in 1972, conducted a peer-review study titled “Relationship between histamine2-receptor

antagonist medications and risk of invasive breast cancer.”34 The study assessed the relationship

between use of H(2) blockers – namely cimetidine, ranitidine, nizatidine, and famotidine and their

relationship to breast cancer.35 While the other H2 blockers did not have a link to breast cancer,

ranitidine was linked with a 2.4-fold increased risk of hormone receptor-positive ductal

carcinoma.36



30
   Valisure Petition at 5. See Mitch, W.a., Sharp, J.O., Trussell, R.R., Valentine, R.L., Alvarez-Cohen, L. and
Sedlak, D.L. (2003) N-Nitrosodimethylamine (NDMA) as a Drinking Water Contaminant: A Review. Environmental
Engineering Science. Vol 20, 5 https://superfund.berkeley.edu/pdf/231/pdf
31
   Valisure Petition at 5.
32
   Tanya Lewis, What we know about the possible carcinogen found in Zantac, Scientific American (Oct. 28, 2019),
https://www.scientificamerican.com/article/what-we-know-about-the-possible-carcinogen-found-in-zantac/ citing
Michaud DS, et. al., Peptic Ulcer disease and the risk of bladder cancer in a prospective study of male health
professionals, 13 Cancer Epidemiology Biomarkers & Prevention 250 (February 2004),
https://www.ncbi.nlm.nih.gov/pubmed/14973090
33
   Id.
34
   Robert W. Mathes, et. al., Relationship between Histamine2- receptor antagonist medications and risk of invasive
breast cancer, 17 Cancer Epidemiology Biomarkers & Prevention 67
https://www.ncbi.nlm.nih.gov/pubmed/18199712
35
   Id.
36
   Id.

                                                         9
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 10 of 26




        38.      A 2011 study that examined ranitidine in water supply found that “ranitidine, a

histamine antagonist widely used for peptic ulcer treatment was found to be an important NDMA

precursor.” 37

        39.      A 2016 study conducted at Stanford University gave 10 volunteers 150 mg tablet

of Zantac and discovered that the subsequent NDMA levels in their urine exceeded 47,000

nanograms.38 The researchers wrote that as most of the NDMA would have been metabolized prior

to reaching the urine, the amount of NDMA in the body could have actually been much higher.39

        40.      As aforementioned, Valisure also conducted tests and discovered the link between

ranitidine and NDMA formation during routine analysis of drug products in its pharmacy.40 In its

Citizen Petition, Valisure stated that “an epidemiological study ha[d] implicated ranitidine’s drug

class as being correlated to cancer.”41 Valisure tested ranitidine tablets by themselves and in

conditions that stimulate the human stomach.42 The results demonstrated “significant NDMA

formation under simulated gastric conditions with [sodium] nitrite present.”43

        41.      Despite knowing that Zantac exposes users to unsafe levels of NDMA, Defendants

did not notify or alert the FDA, even though manufacturers of an approved drug are required by

law to submit an annual report to the FDA that contains a “brief summary of significant new

information from the previous year that might affect the safety, effectiveness, or labeling of the

drug product.”44


37
   Julien Le Roux, Hervé Gallard, Jean-Philippe Croué. Chloramination of nitrogenous contaminants
(pharmaceuticals and pesticides): NDMA and halogenated DBPs formation. 45 WATER RESEARCH 3164 (Mar.
26, 2011), https://hal-enpc.archives-ouvertes.fr/hal-01201554/document
38
   What we know about the possible carcinogen found in Zantac, supra footnote 68.
39
   Id. citing Teng Zeng & William A. Mitch, Oral intake of ranitidine increases urinary excretion of
Nnitrosodimethylamine, 37 Carcinogenesis 625 (Mar. 18, 2016), https://www.ncbi.nlm.nih.gov/pubmed/26992900
40
   Valisure Petition at 3.
41
   Valisure Petition at 4.
42
   Valisure Petition at 6.
43
   Valisure Petition at 7.
44
   21 C.F.R. §314.81(b)(2).

                                                    10
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 11 of 26




           42.      Manufacturers of an approved drug must also report “nonclinical laboratory

studies” which include “copies of unpublished reports and summaries of published reports of new

toxicological findings in animal studies and in vitro studies (e.g., mutagenicity) conducted by, or

otherwise obtained by, the applicant concerning the ingredients in the drug product…”45

           43.      Defendants were on notice about the harmful health effects of Zantac, chose to

ignore the scientific evidence available to them, and concealed damaging information about Zantac

from the FDA, such as the link between ranitidine and NDMA, thereby failing to comply with

regulations put into place for the safety of the public. In fact, instead of disclosing the link between

Zantac and NDMA, Defendants chose to continue to manufacture, sell, and advertise Zantac to

physicians, hospitals, pharmacies, and consumers as a safe drug for years.

           44.      Consumers, including Plaintiff, relied on Defendants’ material misrepresentations

as to the safety of the drug. If Plaintiff had known of the risks of cancer and that he would get

cancer by using Zantac or its generic alternatives, he would not have purchased or used the drug.

           45.      Defendants, at the expense of Plaintiff’s health and safety, continued to

manufacture, sell, and profit off Zantac products. Therefore, Plaintiff now seek to recover his

economic losses, costs of ongoing medical monitoring, and other available remedies as a result of

his purchase and ingestion of Zantac.

                                      TOLLING ALLEGATIONS

       A. The Discovery Rule

            46.     Any applicable statute of limitations is tolled as a result of Defendants’ acts and

omissions alleged herein. Plaintiff, through no fault of his own, could not have discovered the




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     21 C.F.R. § 314.81(b)(2)(v).

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Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 12 of 26




nature of the cause of his cancer or that the use of Zantac could lead to cancer during the relevant

time period.

       47.     Plaintiff could not have discovered through the exercise of reasonable due diligence

or know of any facts that would have caused him to suspect Defendants’ deception within the

applicable time, especially considering that the pertinent scientific research was published in

scientific magazines that requires payment or subscriptions.

       48.     As a result, the applicable statute of limitations did not begin to run until Plaintiff

discovered Defendants’ deception. As such, application of the discovery rule tolls the statute of

limitations.

   B. Fraudulent Concealment

       49.     Defendants knowingly, actively, and affirmatively concealed the link between

Zantac and excessive levels of NDMA and the risk of cancer associated with using Zantac during

the relevant time period.

       50.     Defendants are and were under a continuing duty to disclose the true character,

quality, and risks associated with taking Zantac. Plaintiff reasonably relied on Defendants’ active,

knowing, and affirmative concealment.

       51.     As a result, Defendants’ fraudulent concealment prevented Plaintiff from

discovering the nature of their claims against Defendants. As such, all applicable statutes of

limitations have been tolled by Defendants’ fraudulent concealment.

   C. Estoppel

       52.     Defendants are and were under a continuing duty to disclose the true character,

quality, and risks associated with taking Zantac. Instead, Defendants chose to actively, knowingly,

and affirmatively conceal the heightened exposure to NDMA and health risks associated with



                                                 12
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 13 of 26




using Zantac. Plaintiff reasonably relied on Defendants’ misrepresentations about the safety of

Zantac and could not have reasonably known that he had been exposed to the aforementioned risks.

As a result, Defendants are estopped from asserting any statute of limitations defense in this matter.

                                         CLAIMS FOR RELIEF

                                        COUNT I
                        STRICT PRODUCTS LIABILITY- DESIGN DEFECT

       53.     Plaintiff incorporates by reference and realleges each preceding paragraph as

 though fully set forth herein.

       54.     In Florida, Defendants have a duty to use reasonable care to design a product that

 is reasonably safe for its intended use in order to prevent defects that create a substantial risk of

 foreseeable injury to consumers.

       55.     Defendants breached their duty to use due care by creating Zantac, a drug that is

 unreasonably dangerous for its normal and intended use. Additionally, Defendants breached their

 duty of care by failing to disclose the defect to the Plaintiff, consumers, and the public in general.

       56.     Due to the users’ heightened exposure of NDMA when using Zantac, the drug is

 inherently and unreasonably dangerous and is defective in design and/or formulation. The

 ranitidine molecule, the active ingredient in Zantac, is unstable and can produce NDMA by

 reacting with itself. As aforementioned, NDMA can lead to the development of cancer. Therefore,

 as formulated and designed by Defendants, the foreseeable risks exceed the benefits of using

 Zantac, and the drug is more dangerous than an ordinary consumer would expect.

       57.     At all relevant times herein mentioned, Defendants designed, manufactured,

 marketed, promoted, sold, supplied, and/or distributed Zantac and/or its generic alternatives.

       58.     The design and/or formulation defect existed at the time the Zantac products left

 Defendants’ possession and the products reached the consumers without substantial change in the

                                                  13
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 14 of 26




 condition in which it was produced, manufactured, and sold by the Defendants. Plaintiff used

 Zantac in a reasonably foreseeable manner

       59.     At all relevant times, Defendants knew or should have known that Zantac was

 defective and unsafe based on the scientific research and studies conducted over the years.

       60.     Plaintiff used Zantac as recommended and in a reasonably foreseeable manner to

 Defendants.

       61.     Plaintiff’s ingestion of the defective Zantac drug was the direct and proximate cause

 of Plaintiff’s kidney cancer.

       62.     As Defendants designed, researched, manufactured, tested, marketed, sold, and

 distributed the defective Zantac product, Defendants are strictly liable for Plaintiff’s injuries as a

 result of his ingestion of Zantac.

       Wherefore, Plaintiff seeks a trial by jury and all damages available to him under the law,

 including, but not limited to, pain and suffering, damages for his injuries, economic damages, and

 any other damages the Court deems appropriate.

                                      COUNT II
                     STRICT PRODUCTS LIABILITY – FAILURE TO WARN

       63.     Plaintiff incorporates by reference and realleges each preceding paragraph as

 though fully set forth herein.

       64.     At all relevant times herein mentioned, Defendants designed, manufactured,

 marketed, promoted, sold, supplied, and/or distributed Zantac and/or its generic alternatives.

       65.     Defendants owed Plaintiff a duty to properly design, manufacture, test, inspect,

 label, market, examine, and provide proper and adequate warnings about the associated safety

 risks of using Zantac.




                                                  14
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 15 of 26




        66.     At all relevant times, Defendants knew or should have known that Zantac was

 defective and unsafe based on the scientific research and studies conducted over the years.

        67.     Defendants knew or should have known that Zantac creates serious health risks,

 such as cancer and could have avoided or reduced the foreseeable risks of harm to users by

 providing reasonable instructions or warnings. Defendants failed to exercise reasonable care to

 warn users and should have put proper warnings or instructions to adequately warn consumers of

 the associated health risks of using Zantac. Because of the inadequate warnings and instructions,

 Defendants’ Zantac product is defective.

        68.     The failure to warn defect existed at the time the Zantac products left Defendants’

 possession and the products reached the consumers without substantial change in the condition in

 which it was produced, manufactured, and sold by the Defendants. Plaintiff used Zantac in a

 reasonably foreseeable manner.

        69.     Plaintiff’s ingestion of the defective Zantac drug was the direct and proximate cause

 of Plaintiff’s kidney cancer.

        70.     Plaintiff, through the exercise of reasonable care, could not have discovered the

 defect in Zantac. If Defendants had disclosed the associated health risks of using Zantac, Plaintiff

 would not have bought and/or used Zantac.

        71.     As Defendants designed, researched, manufactured, tested, marketed, sold, and

 distributed the Zantac product without the proper warnings and instructions, Defendants are

 strictly liable for Plaintiff’s injuries as a result of his ingestion of Zantac.

        72.     Defendants acted willfully, wantonly, and/or recklessly by failing to warn Plaintiff

 about Zantac’s associated health risks by properly providing warnings and instructions on the

 label and by not designing the drug in a reasonably safe manner.



                                                    15
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 16 of 26




       73.     Due to the foregoing acts and omissions by Defendants, Plaintiff has been injured

 and damaged in an amount to be proven at trial.

       Wherefore, Plaintiff seeks a trial by jury and all damages available to him under the law,

 including, but not limited to, pain and suffering, damages for his injuries, economic damages, and

 any other damages the Court deems appropriate.

                                              COUNT III
                                             NEGLIGENCE

       74.     Plaintiff incorporates by reference and realleges each preceding paragraph as

 though fully set forth herein.

       75.     Defendants owed Plaintiff a duty to exercise reasonable care in the designing,

 developing, manufacturing, testing, inspecting, distributing, labeling, and/or sale of Zantac.

       76.     Defendants breached this duty of care as they negligently designed, developed,

 manufactured, tested, inspected, distributed, labeled, and/or sold Zantac.

       77.     Plaintiff’s injuries are the direct and proximate cause of the carelessness and

 negligence on part of the Defendants, including, but not limited to, the following:

       a)      Negligence in the design, development, research, manufacture, testing, packaging,

 marketing, sale and/or distribution of Zantac;

       b)      Negligence in failing to adequately warn Plaintiff, consumers, physicians,

 healthcare professionals, the public, and the FDA of the known and foreseeable health risks of

 ingesting Zantac;

       c)      Negligence in failing to use reasonable care in the design, development,

 administration, and/or monitoring of the clinical trials of Zantac;

       d)      Negligence in failing to use reasonable care in utilizing a reasonably safe design in

 the manufacturing of Zantac;

                                                  16
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 17 of 26




       e)      Negligence in falsely representing that Zantac was safe for its intended purpose

 when Defendants knew the product was not safe;

       f)      Negligence in failing to adequately test Zantac before and after its introduction to

 the market;

       g)      Negligence in failing to warn Plaintiff and Plaintiff’s physicians of the known or

 reasonably foreseeable risk of cancer when using Zantac;

       h)      Negligence in failing to adequately and timely notify Plaintiff, consumers,

 physicians, healthcare professionals, the public, and the FDA of the associated cancer risks from

 ingesting Zantac;

       i)      Negligence in failing to warn and update Plaintiff, consumers, physicians,

 healthcare professionals, the public, and the FDA with post-market warnings and instructions;

       j)      Negligence in such further acts or omissions that may be proven at trial.

       78.     Defendants knew or should have known that Plaintiff and other consumers would

foreseeably suffer injury due to Defendants’ failure to exercise reasonable and ordinary care.

       79.     As a direct and proximate cause of Defendants’ negligence, Plaintiff has suffered

severe injuries, including but not limited to, developing kidney cancer. Plaintiff will endure

continuous pain and suffering and economic loss as a result of Defendants’ negligence. Plaintiff

requires and/or will require additional medical care and treatment and will incur continuing

expenses due to Defendants’ actions and omissions.

       80.     Due to the foregoing acts and omissions by Defendants, Plaintiff has been injured

 and damaged in an amount to be proven at trial.




                                                17
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 18 of 26




       Wherefore, Plaintiff seeks a trial by jury and all damages available to him under the law,

 including, but not limited to, pain and suffering, damages for his injuries, economic damages, and

 any other damages the Court deems appropriate.

                                      COUNT IV
                            BREACH OF EXPRESS WARRANTY

        81.    Plaintiff incorporates by reference and realleges each preceding paragraph as

 though fully set forth herein.

        82.    Defendants, through their public announcements, press releases, public statements,

 the labelling on Zantac products, and promotional materials expressly warranted that Zantac was

 safe for its intended use of preventing and relieving heartburn associated with indigestion brought

 on by the consumption of certain foods and drinks.

        83.    However, Zantac does not conform to the Defendants’ warranties as it is

 unreasonably dangerous, defective in design and/or formulation, provides inadequate warnings

 of the adverse health risks associated with using Zantac, and is not fit for the ordinary purpose for

 which it was intended. Zantac has numerous serious side effects that were not mentioned or

 disclosed by Defendants, such as acting as a carcinogen to humans.

        84.    Defendants knew or should have known that their representations and warranties

 about the safety of Zantac were false and misleading.

        85.    Plaintiffs, as well as consumers, physicians, healthcare professionals, and the public

 relied on the express warranties made by Defendants.

        86.    As a direct and proximate cause of Defendants’ breach of their express warranties,

 Plaintiff has suffered severe injuries, including but not limited to, developing kidney cancer.

 Plaintiff will endure continuous pain and suffering and economic loss as a result of Defendants’




                                                 18
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 19 of 26




 breach. Plaintiff requires and/or will require additional medical care and treatment and will incur

 continuing expenses due to Defendants’ actions and omissions.

           87.   Due to the foregoing acts and omissions by Defendants, Plaintiff has been injured

 and damaged in an amount to be proven at trial.

       Wherefore, Plaintiff seeks a trial by jury and all damages available to him under the law,

 including, but not limited to, pain and suffering, damages for his injuries, economic damages, and

 any other damages the Court deems appropriate.

                                        COUNT V
                              BREACH OF IMPLIED WARRANTY

             88. Plaintiff incorporates by reference and realleges each preceding paragraph as

 though fully set forth herein.

             89. At all relevant times, Defendants are and/or were the manufacturers, distributors,

 marketers, and sellers of Zantac and knew or had reason to know of the specific intended use of

 the drug.

             90. At all relevant times, Defendants are and were merchants and sellers of goods.

             91. Plaintiff, who suffered from heart burn and indigestion, was a foreseeable user of

 Zantac.

             92. Defendants implicitly warranted that Zantac was in merchantable condition and fit

 for the ordinary purpose for which the drug is used.

             93. When designed, manufactured, sold, and at all times thereafter, Zantac was not in

 merchantable condition and was not fit for its ordinary purpose as it was defective and

 unreasonably dangerous to users.

             94. Defendants are not able to disclaim their implied warranty of merchantability as

 they knowingly sold an inherently defective and unreasonably dangerous drug.

                                                 19
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 20 of 26




          95. As a direct and proximate cause of Defendants’ breach of implied warranties,

Plaintiff has suffered severe injuries, including but not limited to, developing kidney cancer.

Plaintiff will endure continuous pain and suffering and economic loss as a result of Defendants’

negligence. Plaintiff requires and/or will require additional medical care and treatment and will

incur continuing expenses due to Defendants’ actions and omissions.

          96. Due to the foregoing acts and omissions by Defendants, Plaintiff has been injured

 and damaged in an amount to be proven at trial.

       Wherefore, Plaintiff seeks a trial by jury and all damages available to him under the law,

 including, but not limited to, pain and suffering, damages for his injuries, economic damages, and

 any other damages the Court deems appropriate.

                                   COUNT VI
                       FRAUD OR FRAUDULENT CONCEALMENT

          97. Plaintiff incorporates by reference and realleges each preceding paragraph as

 though fully set forth herein.

          98. Defendants intentionally and knowingly misrepresented, concealed, suppressed,

and/or omitted material facts regarding the defectiveness and inherent dangerousness of Zantac.

Defendants misrepresented to Plaintiff, consumers, physicians, healthcare professionals, and the

public via their advertisements and drug packaging that Zantac was safe to use and did not have

significant defects.

       99.     When making these misrepresentations, Defendants knew that Zantac exposes

users to unsafe levels of NDMA and heightened risks of cancer and chose to conceal it. In fact,

Defendants touted the benefits of using Zantac to the general public. Defendants knew or should

have known that they should have disclosed the dangers associated with Zantac.



                                                20
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 21 of 26




       100.    Defendants knew and intended that Plaintiff would rely on such misrepresentations

and omissions and that their concealment or failure to disclose the dangers associated with

consuming Zantac would induce Plaintiff to recommend or use Zantac.

       101.    Defendants knew that their concealment and suppression of the dangers of Zantac

would allow them to continue selling Zantac and would result in increased revenue and profits. By

not disclosing the fact that Zantac exposes consumers to high levels of NDMA or increases their

risk of cancer, Defendants were able to keep users from switching to other widely available

medications to treat their symptoms. Defendants acted maliciously, oppressively, and with intent

to defraud.

       102.    Defendants had a duty to disclose the inherent defects of Zantac as the information

was material to Plaintiff since it concerned his safety and wellbeing and Defendants knew that

Plaintiff could not reasonably discover this information on his own.

       103.    Plaintiff and Plaintiff’s healthcare providers detrimentally relied on Defendants’

knowing, affirmative and active false representations, concealment, and omissions. Plaintiff could

not have reasonably or through due diligence discovered the health risks associated with using

Zantac or discovered that Defendants’ representations were fraudulent and misleading

       104.    As a direct and proximate cause of Defendants’ negligence, Plaintiff has suffered

severe injuries, including but not limited to, developing kidney cancer. Plaintiff will endure

continuous pain and suffering in addition to economic loss as a result of Defendants’ negligence.

Plaintiff requires and/or will require additional medical care and treatment and will incur

continuing expenses due to Defendants’ actions and omissions.

       105.    Due to the foregoing acts and omissions by Defendants, Plaintiff has been injured

and damaged in an amount to be proven at trial.



                                               21
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 22 of 26




       Wherefore, Plaintiff seeks a trial by jury and all damages available to him under the law,

including, but not limited to, pain and suffering, damages for his injuries, economic damages, and

any other damages the Court deems appropriate.

                                     COUNT VII
                            FRAUDULENT MISREPRESENTATION

       106.    Plaintiff incorporates by reference and realleges each preceding paragraph as

though fully set forth herein.

       107.    The Defendants falsely and fraudulently represented to Plaintiff, consumers,

healthcare professionals, the public, and/or the FDA that based on test results, Zantac products

were safe for consumption and were effective in relieving symptoms of acid reflux, heartburn, and

other similar conditions.

       108.    Unfortunately, Defendants representations were fraudulent and incorrect.

       109.    At all relevant times, when Defendants made these representations about the safety

of Zantac, they knew that their representations were fraudulent and proceeded to conceal and

willfully and recklessly disregarded the truth about the dangers of using Zantac.

       110.    Defendants intended that Plaintiff would rely on such misrepresentations and

omissions. Defendants made the representations with the intent of defrauding Plaintiff, consumers,

healthcare professionals, and the public into believing that Zantac was safe and therefore inducing

them to recommend or use Zantac.

       111.    Plaintiff and Plaintiff’s healthcare providers detrimentally relied on Defendants’

fraudulent misrepresentations and omissions. Plaintiff could not have reasonably or through due

diligence discovered the health risks associated with using Zantac or discovered that Defendants’

representations were fraudulent and misleading.




                                                22
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 23 of 26




       112.    Defendants knew or should have known that ranitidine was an unstable molecule

that could react with itself to form unsafe levels of NDMA, which could lead to severe medical

conditions such as cancer. Defendants deliberately turned a blind eye to the scientific research and

studies that were available and minimized and concealed the inherently dangerous nature of Zantac

from Plaintiff, consumers, healthcare professionals, and the public by making fraudulent

misrepresentations about the safety and benefits of the drug.

       113.    As a direct and proximate cause of Defendants’ fraudulent misrepresentations,

Plaintiff has suffered severe injuries, including but not limited to, developing kidney cancer.

Plaintiff will have to endure continuous pain and suffering in addition to economic loss as a result

of Defendants’ immoral conduct. Plaintiff requires and/or will require additional medical care and

treatment and will incur continuing expenses due to Defendants’ actions and omissions.

       114.    Due to the foregoing acts and omissions by Defendants, Plaintiff has been injured

and damaged in an amount to be proven at trial.

   Wherefore, Plaintiff seeks a trial by jury and all damages available to him under the law,

including, but not limited to, pain and suffering, damages for his injuries, economic damages, and

any other damages the Court deems appropriate.

                                     COUNT VIII
                            NEGLIGENT MISREPRESENTATION

        115. Plaintiff incorporates by reference and realleges each preceding paragraph as

 though fully set forth herein.

        116. Defendants negligently misrepresented, concealed, suppressed, and/or omitted

material facts regarding the safety of Zantac to Plaintiff, consumers, physicians, healthcare

professionals, and the public. Defendants intended that Plaintiff would rely on such

misrepresentations and omissions.

                                                23
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 24 of 26




        117. Defendants owed a duty to disclose the adverse side effects of using Zantac, such

as the link between ranitidine and NDMA, the harmful effects of NDMA, and the potential of

NDMA causing cancer, to Plaintiff, consumers, physicians, healthcare professionals, the public,

and the FDA as Defendants had superior knowledge concerning the dangerous side effects of

Zantac. Defendants breached this duty of care by failing to disclose the material fact that Zantac

was unreasonably dangerous.

        118. Defendants, in the absence of due care, made misrepresentations and concealed the

dangers of Zantac. Defendants knew and intended that Plaintiff would rely on such

misrepresentations and omissions.

        119. Plaintiff and Plaintiff’s healthcare providers detrimentally relied on Defendants’

negligent or reckless misrepresentations and omissions. Plaintiff could not have reasonably or

through due diligence discovered the health risks associated with using Zantac or discovered that

Defendants’ representations were fraudulent and misleading.

        120. As a direct and proximate cause of Defendants’ negligence, Plaintiff has suffered

severe injuries, including but not limited to, developing kidney cancer. Plaintiff will endure

continuous pain and suffering in addition to economic loss as a result of Defendants’ negligence.

Plaintiff requires and/or will require additional medical care and treatment and will incur

continuing expenses due to Defendants’ actions and omissions.

        121. Due to the foregoing acts and omissions by Defendants, Plaintiff has been injured

and damaged in an amount to be proven at trial.

       Wherefore, Plaintiff seeks a trial by jury and all damages available to him under the law,

including, but not limited to, pain and suffering, damages for his injuries, economic damages, and

any other damages the Court deems appropriate.



                                               24
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 25 of 26




                                      COUNT IX
                             CLAIM FOR PUNITIVE DAMAGES

         122. Plaintiff incorporates by reference and realleges each preceding paragraph as

though fully set forth herein.

         123. At all relevant times, Defendants had actual knowledge of the illegality and

wrongfulness of their actions and knew that using Zantac could lead to cancer or other serious

health risks.

         124. Defendants conduct shows their reckless disregard and indifference for the safety

of Plaintiff and their consumers.

         125. Defendants knew that by misrepresenting, concealing, suppressing, and/or omitting

the dangerous side effects of using Zantac, users, like Plaintiff, could develop severe medical

conditions, such as cancer. Despite this knowledge, Defendants willfully, wantonly, and recklessly

continued to proceed with their conduct.

         126. Defendants willful, wanton, and/or reckless conduct includes, but is not limited to,

Defendants’ lack of disclosure and warnings of the link between ranitidine and NDMA and their

failure to protect and take all reasonable measures to make sure that consumers such as Plaintiff

were using defective medication that could cause cancer.

                                    PRAYER FOR RELIEF

    WHEREFORE, Plaintiff, respectfully requests that this Court enter judgment against

Defendants, and award the following relief:

    A. An order awarding compensatory damages to Plaintiff for past and future damages,

        including but not limited to pain and suffering, health care costs, and medical monitoring;

    B. An order requiring Defendants pay both pre- and post-judgment interest on any amount

        awarded;

                                                25
Case 1:20-cv-00623-LTB Document 1 Filed 03/05/20 USDC Colorado Page 26 of 26




    C. Restitution for all purchases of Zantac by Plaintiff, in an amount to be determined at trial;

    D. An order awarding all actual, general, special, incidental, punitive, and consequential

        damages to which Plaintiff is entitled;

    E. An award of costs, expenses, and attorneys’ fees as permitted by law; and

    F. Such other or further relief that this Court may deem appropriate.

                                 DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a trial by jury, pursuant to Fed. R. Civ. P. §38(b) as to all claims

in this action.

Dated: March 5, 2020.

                                              Respectfully submitted,

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                                                  26
